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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA                  §
                                          §
V.                                        §
                                          §           No. 3:18-cr-573-B (2)
KRISTEN ILENE BROWN,                      §
                                          §
             Defendant.                   §

                   MEMORANDUM OPINION AND ORDER

      In an Order Accepting Report and Recommendation of the United States

Magistrate Judge Concerning Plea of Guilty, dated July 24, 2019, United States

District Judge Jane J. Boyle has referred this matter to the undersigned United States

magistrate judge for a hearing to determine whether it has been clearly shown that

there are exceptional circumstances under 18 U.S.C. § 3145(c) why Defendant Kristen

Ilene Brown should not be detained under 18 U.S.C. § 3143(a)(2), and whether it has

been shown by clear and convincing evidence that Defendant Kristen Ilene Brown is

not likely to flee or pose a danger to any other person or the community if released

under 18 U.S.C. § 3142(b) or (c). See Dkt. No. 240.

                                    Background

      Defendant is set for sentencing before Judge Boyle on October 10, 2019. See Dkt.

No. 217. “[W]hether a defendant should be released pending trial and whether a

defendant should be released pending sentencing or appeal are distinct inquiries

governed by different provisions of the Bail Reform Act.” United States v. Lee, 31 F.

App’x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001).

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      “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or

appeal.” FED. R. CRIM. P. 46(c). 18 U.S.C. § 3143(a)(2) dictates that the Court “shall

order that a person who has been found guilty of an offense in a case described in

subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds

there is a substantial likelihood that a motion for acquittal or new trial will be granted;

or (ii) an attorney for the Government has recommended that no sentence of

imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

convincing evidence that the person is not likely to flee or pose a danger to any other

person or the community.” 18 U.S.C. § 3143(a)(2).

      On November 16, 2018, the undersigned United States magistrate judge

released Defendant subject to an Order Setting Conditions of Release. See Dkt. No. 44.

      “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or

appeal.” FED. R. CRIM. P. 46(c). 18 U.S.C. § 3143(a)(2) dictates that the Court “shall

order that a person who has been found guilty of an offense in a case described in

subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds

there is a substantial likelihood that a motion for acquittal or new trial will be granted;

or (ii) an attorney for the Government has recommended that no sentence of

imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

convincing evidence that the person is not likely to flee or pose a danger to any other

person or the community.” 18 U.S.C. § 3143(a)(2).

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      Defendant filed a Motion for Continued Release, in which she identifies the

exceptional circumstances under 18 U.S.C. § 3145(c) that she contends justify her

continued release post-conviction and in which she addresses whether she is likely to

flee or pose a danger to any other person or the community if released under 18 U.S.C.

§ 3142(b) or (c) pending sentencing. See Dkt. No. 261.

      The Court held a hearing on August 30, 2019 on the matters referred by Judge

Boyle, at which Defendant appeared in person and through counsel and the

government’s counsel appeared.

                           Legal Standards and Analysis

      As a preliminary matter, Defendant is subject to mandatory detention under

Section 3143(a)(2) because she has, on a guilty plea, now been adjudged guilty of a

violation of 21 U.S.C. § 841. See Dkt. Nos. 181, 215, & 240. That is “an offense in a case

described in subparagraph (A) ... of subsection (f)(1) of section 3142,” specifically, “an

offense for which a maximum term of imprisonment of ten years or more is prescribed

in the Controlled Substances Act (21 U.S.C. 801 et seq.).”

      Defendant therefore must be detained pursuant to 18 U.S.C. § 3143(a)(2) unless

she meets the conditions of release set forth in Section 3143(a)(2) or 18 U.S.C. §

3145(c). Release of “a person who has been found guilty of an offense in a case

described in [18 U.S.C. § 3142(f)(1)(A)] and is awaiting imposition or execution of

sentence” requires that “the judicial officer finds by clear and convincing evidence that

the person is not likely to flee or pose a danger to any other person or the community.”

18 U.S.C. § 3143(a)(2)(B); see also United States v. Morrison, 833 F.3d 491, 506 (5th

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Cir. 2016) (“The decision to detain Jacqueline after conviction is a common one because

of the presumption in favor of detention that attaches to a convicted defendant. See 18

U.S.C. § 3143.”); United States v. Lopez, 504 F. App’x 297, 298 (5th Cir. 2012) (“A

defendant who has been convicted ‘shall ... be detained’ pending sentencing ‘unless the

judicial officer finds by clear and convincing evidence that the person is not likely to

flee or pose a danger to the safety of any other person or the community if released.’

Thus, there is a presumption against release pending sentencing.” (footnotes omitted)).

As the United States Court of Appeals for the Fifth Circuit has repeatedly recognized,

Federal Rule of Criminal Procedure 46(c) and Section 3143(a)(1) impose a burden on

a convicted defendant seeking release pending sentencing to show by clear and

convincing evidence that she or he is not a flight risk or a danger to the community. See

18 U.S.C. § 3143(a)(1); FED. R. CRIM. P. 46(c) (“The burden of establishing that the

defendant will not flee or pose a danger to any other person or to the community rests

with the defendant.”); United States v. Lockett, 549 F. App’x 269 (mem.), No. 13-11097,

2013 WL 6623771, at *1 (5th Cir. Dec. 17, 2013).

      Further, Defendant must meet the conditions of release set forth in Section

3143(a)(2)(A) or 3145(c). Defendant cannot, and does not claim that she can, satisfy the

Section 3143(a)(2)(A) showing that there is a substantial likelihood that a motion for

acquittal or new trial will be granted or that an attorney for the government has

recommended that no sentence of imprisonment be imposed on Defendant.

      18 U.S.C. § 3145(c) provides that “[a] person subject to detention pursuant to [18

U.S.C. §] 3143(a)(2) or (b)(2), and who meets the conditions of release set forth in [18

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U.S.C. §] 3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions,

by the judicial officer, if it is clearly shown that there are exceptional reasons why such

person’s detention would not be appropriate.” As reflected in the Report and

Recommendation Concerning Plea of Guilty [Dkt. No. 215], Section 3145(c) provides

an alternative basis for pre-sentencing release under “exceptional circumstances,” so

long as Defendant also makes the required showing under Section 3143(a)(1) and

3143(a)(2)(B) – that is, by clear and convincing evidence that Defendant is not likely

to flee or pose a danger to the safety of any other person or the community if released

under 18 U.S.C. § 3142(b) or 3142(c) pending sentencing. See United States v. Carr, 947

F.2d 1239, 1240 (5th Cir. 1991).

      The Court finds that Defendant has made the required showing that she is not

likely to flee or pose a danger to the safety of any other person or the community if

continued on release. As Defendant explains in her motion:

             Pursuant to a good faith agreement between Ms. Brown and the
      Government, the Government withdrew its Motion for Pretrial Detention
      filed on November 16, 2018, and this Court released her on certain
      conditions. To date, Ms. Brown has not caused United States Probation
      Office Pretrial Services (USPO) any problems, and has conducted herself
      in accordance with the conditions of her release. [In an email from USPO
      dated August 26, 2019, Pretrial Officer Wayne Poton confirmed that,
      “[Ms. Brown] is in compliance with her [conditions of release]. No positive
      [urinalysis] while on release and she was not referred to [substance
      abuse] treatment as she remained drug free.”] This should come as no
      surprise for two reasons: first, as promised, Ms. Brown promptly followed
      through with her agreement with the Government, and second, this is
      Ms. Brown’s first prosecution, as confirmed by the United States
      Probation Office during the investigation for the Presentence
      Investigation Report (PSR). The PSR indicated a criminal history score
      of zero. In this case, Ms. Brown has complied with the requests of the
      Government, USPO, and this Court.

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      ....
              As an initial matter, clear and convincing evidence – namely, Ms.
      Parson’s performance on pretrial release – shows that she is not a not a
      flight risk or a danger to the community. To benefit from pretrial release,
      this Court ordered Ms. Brown to, among other restrictions:
              (1) Notify the United States Probation Office in writing before
                     making any change of residence or telephone number;
              (2) Submit to Supervision;
              (3) Continue or actively seek employment;
              (4) Submit to drug testing;
              (5) Participate in substance abuse treatment if directed by USPO;
      See Dkt. No. 44. Counsel has conferred with Wayne Poton, USPO, on
      August 26, 2019, and confirmed that, “[Ms. Brown] is in compliance with
      her [conditions of release].” He further informed Counsel that Ms. Brown
      has had “[n]o positive [urinalysis] while on release and she was not
      referred to [substance abuse] treatment as she remained drug free.”
              Ms. Brown has demonstrated over the course of the last nine-plus
      months that she is neither a flight risk nor a danger to the community.
      In fact, when considered collectively, Ms. Brown’s post-offense conduct
      has demonstrated that she is an asset to the community, her family and
      the workforce. Further, her actions toward repaying society began almost
      immediately upon arrest. She followed through on her agreement with
      the Government within days of being released from jail, and timely
      entered into a plea agreement accepting responsibility for her actions.

Dkt. No. 261 at 1, 6-7 (footnote omitted).

      The issue of Defendant’s presentencing release therefore turns on whether “it

is clearly shown that there are exceptional reasons why [Defendant’s] detention

[pending sentencing] would not be appropriate.” 18 U.S.C. § 3145(c). In support of that

showing, Defendant explains that she

      has unique and exceptional circumstances that warrant her continued
      release pending sentencing. Amy Davis, Ms. Brown’s step-mother, and for
      all intents and purposes her mother given that she came into Ms. Brown’s
      life when Ms. Brown was four years old, and has been the only mother
      that Ms. Brown has known. While she maintains some contact with her
      biological mother, in Ms. Brown’s words, “[they] don’t really have a
      relationship.” Unfortunately, Ms. Davis has been diagnosed with
      symptoms requiring a hysterectomy which will include a biopsy to

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      determine whether chemotherapy and radiation treatments will be
      required and part of ongoing oncological care. See August 26, 2019 Letter
      from Amy Davis. She is scheduled for surgery on September 4, 2019. See
      Id. Of course fingers are crossed in hopes of a positive outcome, the
      reality is that Ms. Davis’ ability to care for Ms. Brown’s son, Eric, will be
      greatly diminished, and as she writes, will prevent her from providing the
      care that Eric needs. See Id. Ms. Davis would be Eric’s caretaker in Ms.
      Brown’s absence. See Id.
             Ms. Brown interviewed with the USPO for preparation of a PSR.
      Ms. Brown’s Criminal History category is I, with a score of zero. PSR ¶
      73. Regarding Offense Level, Ms. Brown’s PSR calculated her Total
      Offense Level at seven. Id. A Criminal History Category I, and a Total
      Offense Level of seven results in a Guideline Imprisonment Range of zero
      to six months, which is in Zone A of the United States Sentencing Table.
      Id. In fact, this is the lowest Guideline Imprisonment Range for any
      offense. See United States Sentencing Table. Given Ms. Brown’s Chapter
      Two and Three downward adjustments under the United States
      Sentencing Guidelines Manual, and her range within Zone A of the
      sentencing table, among other conspicuous considerations, Ms. Brown is
      a strong candidate for a probationary sentence. To be perfectly clear,
      probation is not mandatory or guaranteed and Ms. Brown recognizes the
      statutory and United States Sentencing Guideline authority to sentence
      her to some term in prison. However, the overall strength of her
      forthcoming sentencing request of probation bodes toward continued
      release.
             At sentencing, Honorable Judge Jane J. Boyle will consider many
      factors, not the least of which will be Ms. Brown’s history and
      characteristics. In addition to those already discussed, Ms. Brown, since
      her release on conditions has maintained steady and gainful employment.
      When agents arrested Ms. Brown, she lost her job as a result. PSR ¶ 60.
      Not one to be lazy, she immediately sought out new employment and
      successfully landed a job with another local business. PSR ¶ 59. Always
      looking to better her circumstances, Ms. Brown learned of an opportunity
      to earn significantly more at another local employer, Sterilite, and
      successfully applied. PSR ¶ 58. Ms. Brown joined the team at Sterilite, a
      local warehouse facility, on February 13, 2019. Id. While there, she has
      performed well and recently been considered for a promotion which will
      also include a pay increase. To help meet her financial obligations, Ms.
      Brown took the initiative to begin freelance work delivery food when she
      is not working at the warehouse. PSR ¶ 58. Ms. Brown intends to
      continue these sources of stability and self-sufficiency.
             Between working and taking care of her son, Eric, Ms. Brown has
      also volunteered with charity. Since April 2019, Ms. Brown partnered

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      with Meals on Wheels for Johnson and Ellis County delivering
      homebound neighbors with meals. See June 26, 2019 Letter from Gladys
      Burns, Meals on Wheels. Ms. Gladys Burns, Volunteer Coordinator for
      Meals on Wheels for Johnson and Ellis County, indicated that between
      April 2019 and June 26, 2019, Ms. Brown completed multiple hours of
      volunteer community service, and added that “[w]ithout volunteers like
      Kristen [they] would not be able to do what [they] do for our seniors.” Id.
             Ms. Brown’s community involvement also includes regular church
      attendance at Oaks Church in Red Oak, Texas. Ms. Brown is not seeing
      a professional counselor or participating in formal therapy sessions;
      however, she does utilize her church connections and spiritual
      relationships, including prayer, to deal with both past trauma involving
      abusive relationships and the stress of this prosecution. See PSR ¶ 53.
      Detention, especially under these circumstances, would disrupt Ms.
      Brown’s spiritual and emotional growth and restoration.
      ....
             When taken individually, each factor in Ms. Brown’s life may not
      meet the standard of exceptional circumstances; however, when an
      objective analysis of Ms. Brown’s circumstances are considered – low
      Guideline provisions and potential for probationary sentence, compliance
      with conditions of release, conduct with the Government, her personal
      commitment to family (including caretaking function for her
      step-mother’s post-surgery needs, and mother to a minor child),
      community involvement and volunteerism, and current spiritual
      approach to rehabilitation – Ms. Brown’s pre-sentencing life and
      rehabilitation warrants continued release in order to avoid disruption and
      counter-productive consequences that do not further the ends of justice.
      That is, Ms. Brown has shown exceptional reasons why her detention
      would not be appropriate.

Dkt. No. 261 at 1-4, 8.

      The United States Court of Appeals for the Fifth Circuit has explained that the

“exceptional reasons” provision “was added to § 3145(c) with the mandatory detention

provisions of § 3143(a)(2) and (b)(2) and was apparently designed to provide an avenue

for exceptional discretionary relief from those provisions.” Carr, 947 F.2d at 1240. The

United States Court of Appeals for the Second Circuit offers a working definition of

“exceptional reasons”: “a unique combination of circumstances giving rise to situations

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that are out of the ordinary.” United States v. DiSomma, 951 F.2d 494, 497 (2d Cir.

1991). That court also explained that, in assessing reasons proffered as the basis for

release under Section 3145(c), “a case by case evaluation is essential.” Id. The United

States Court of Appeals for the Eighth Circuit has similarly explained that

“‘exceptional’ means ‘clearly out of the ordinary, uncommon, or rare.’” United States v.

Little, 485 F.3d 1210, 1211 (8th Cir. 2007) (citation omitted). One court has explained

that, “to avoid emasculating the mandatory detention statute[,] ‘exceptional reasons

review is limited to determining whether remanding the defendant to custody until

sentencing would be tantamount to subjecting individuals to unjust detention.’” United

States v. Thomas, No. 10-cr-229, 2010 WL 3323805, at *2 (D.N.J. Aug. 20, 2010)

(quoting United States v. Christman, 712 F. Supp. 2d 651, 655 (E.D. Ky. 2010)).

      District courts in this circuit have noted a variety of circumstances that do not

rise to the level of exceptional. See United States v. Cyrus, No. 10-0228-04, 2010 WL

5437247, at *1-*2 (W.D. La. Dec. 27, 2010) (need to “secure his home and attend to

other personal matters” were not exceptional reasons justifying release pending

sentencing); United States v. Douglas, 824 F. Supp. 98, 99-100 (N.D. Tex. 1993)

(defendant’s cooperation with the government that subjected him to potential

retaliation by co-defendants and his attempts at rehabilitation did not constitute

exceptional reasons); United States v. Dempsey, No. 91-098, 1991 WL 255382, at *1-*2

(E.D. La. Nov. 19, 1991) (poor health, emotional and mental problems, and need to

properly prepare his business and his family for his long absence were not exceptional

circumstances); United States v. Scott, No. 1:95-CR-80-1, 1995 WL 723752, at *1-*2

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 (E.D. Tex. Nov. 22, 1995) (need to assist parent was a purely personal reason that was

 no more exceptional than those routinely rejected by courts); see also United States v.

 Landry, No. CR 15-32-JWD-SCR, 2015 WL 5202458, at *2-*4 (M.D. La. Sept. 4, 2015);

 United States v. Posada, 109 F. Supp. 3d 911, 912-16 (W.D. Tex. 2015).

       The facts that Defendant urges as exceptional circumstances, including her

 compliance with his conditions of pretrial release, are certainly commendable. But, as

 Defendant acknowledges, that alone is not so out of the ordinary and, in that sense,

 “exceptional” among defendants who are on release at the time that they are found

 guilty as to justify an exception to Section 3142(a)(2)’s rule of mandatory detention. See

 generally United States v. Bernard, No. 1:12-cr-00022-JAW-02, 2013 WL 145582, at *2

 (D. Me. Jan. 14, 2013) (“One way of thinking about compliance with the terms of

 pretrial release and a lack of significant criminal history is that they make out a

 necessary but not sufficient showing for release under § 3145(c).”).

       But, for the reasons the Court explained more fully at the August 30, 2019

 hearing, the Court finds that the particular totality of the facts that Defendant urges

 as exceptional circumstances, including her compliance with all of her conditions of

 pretrial release and the possibility that she may receive a probationary sentence, are,

 taken together, a unique combination of circumstances giving rise to a situation that

 is out of the ordinary and in which Defendant’s presentencing detention would not be

 appropriate.

                                       Conclusion

       The Court finds that Defendant Kristen Ilene Brown has presented so unique

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 a combination of circumstances that is so clearly out of the ordinary, uncommon, or

 rare as to justify ordering release pending sentencing under Section 3145(c) and that

 Defendant Kristen Ilene Brown met her burden to clearly show exceptional

 circumstances why she should not be detained pending sentencing – that is,

 exceptional reasons why her detention would not be appropriate – and to show by clear

 and convincing evidence that she is not likely to flee or pose a danger to any other

 person or the community if she remains on release under 18 U.S.C. § 3142(c).

       Defendant Kristen Ilene Brown is ORDERED to remain on release, subject to

 the Court’s Order Setting Conditions of Release [Dkt. No. 44], pending her sentencing

 before Judge Boyle.

       SO ORDERED.

       DATED: August 30, 2019



                                           _______________________________________
                                           DAVID L. HORAN
                                           UNITED STATES MAGISTRATE JUDGE




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